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                  LYFT, INC.
              8
                                               UNITED STATES DISTRICT COURT
              9
                                              NORTHERN DISTRICT OF CALIFORNIA
             10
                                                  SAN FRANCISCO DIVISION
             11
                  LYFT, INC., a Delaware corporation,          Case No. 3:18-cv-06978-EMC
             12
                                 Plaintiff,                    Related Case No. 3:18-cv-05546-EMC
             13
                         v.                                    PLAINTIFF LYFT, INC.’S NOTICE OF
             14                                                VOLUNTARY DISMISSAL WITHOUT
                  WARREN POSTMAN, an individual citizen        PREJUDICE
             15   of Virginia, and KELLER LENKNER LLC,
                  an Illinois limited liability corporation,   Date Filed: November 16, 2018
             16
                                 Defendants.                   Trial Date: TBD
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                          PLAINTIFF LYFT, INC.’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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              1          PLEASE TAKE NOTICE that Plaintiff Lyft, Inc. (“Lyft”) hereby voluntarily dismisses

              2   without prejudice its complaint, Dkt. No. 1, against Defendants Warren Postman and Keller

              3   Lenkner LLC (together, “Defendants”). See Fed. R. Civ. P. 41(a)(1)(A)(i). Defendants have not

              4   yet filed an answer or a motion for summary judgment. See id.

              5

              6   Dated: March 1, 2019                                KEKER, VAN NEST & PETERS LLP
              7

              8                                                By:    /s/ R. James Slaughter
                                                                      RACHAEL E. MENY
              9                                                       R. JAMES SLAUGHTER
                                                                      IAN KANIG
             10
                                                                      Attorneys for Plaintiff
             11                                                       LYFT, INC.

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                         PLAINTIFF LYFT, INC.’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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